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                                   STATEMENT OF FACTS

        Your affiant, Christon Turner, is a Special Agent assigned to the FBI’s Washington Field
Office, where I am a member of the Joint Terrorism Task Force. In my duties as a special agent, I
currently focus on national security matters and counterterrorism investigations. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As an FBI Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

          Initial Identification of Hatchet M. SPEED (born Daniel Abraham Speed)

        SPEED is a Petty Officer First Class (E-6) in the United States Naval Reserves assigned
to the Naval Warfare Space Field Activity located at the National Reconnaissance Office, a
member of the U.S. intelligence community. SPEED was recently employed as a software
developer and technical lead for Novetta Solutions LLC, in Vienna, Virginia, a cleared defense
contractor that conducts advanced analytics for the U.S. Department of Defense (DoD) and
numerous other federal agencies.

        According to records obtained through legal process served on Verizon on or about
March 23, 2021, the phone number xxx-xxx-4245 is registered to SPEED. Pursuant to legal
process, Google has produced subscriber information for the account speedness@gmail.com.
This subscriber information reflects that the account is registered in SPEED’s name. The
birthday listed for the subscriber is SPEED’s birthday. SPEED’s phone number—xxx-xxx-
4245—is listed as the recovery SMS for the account. The recovery email for the account is
hatchet.speed@navy.mil.

        A search warrant was served on Google for information in and around the time of the
breach of the U.S. Capitol on January 6, 2021. According to records produced by Google, a
mobile device associated with SPEED’s phone number and e-mail address
speedness@gmail.com was present at the U.S. Capitol on January 6, 2021. Google estimates
device location using sources including GPS data and information about nearby Wi-Fi access
points and Bluetooth beacons. This location data varies in its accuracy, depending on the
source(s) of the data. As a result, Google assigns a “maps display radius” for each location data
point. Thus, where Google estimates that its location data is accurate to within 10 meters,
Google assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time.

         In this case, Google location data shows that a device associated with
speedness@gmail.com (associated with SPEED) was within the U.S. Capitol. Google records
show that the “maps display radius” for this location data encompasses an area that is partially or
entirely within the U.S. Capitol Building between 2:35 PM and 3:51 PM. In addition, as
illustrated in the map below, the listed locations were entirely within areas of the U.S. Capitol
Grounds which were restricted on January 6, 2021.
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      SPEED’s Admissions to an Undercover Employee Concerning the Capitol Breach

       On March 15, 2022, SPEED met with an FBI undercover employee (UCE-1), who has
presented to SPEED as a like-minded individual. During this meeting, SPEED admitted that he
entered the U.S. Capitol on January 6, 2021, and that he “made it to the Rotunda down below.”
SPEED told UCE-1 that going to the Capitol on January 6 “was always the plan.” He explained,
“We would listen to Donald Trump then all of us would go to the Capitol. Now the reason we
were going to the Capitol was to protest what was going on in the Capitol… what they were
doing was counting the ballots.”

        On March 22, 2022, SPEED met with UCE-1 again. During that meeting, SPEED
provided further details about his activities at the U.S. Capitol on January 6, 2021. SPEED
stated that he went to the Capitol on January 6 with friends who were members of the Proud
Boys, with whom he keeps in contact. 1 SPEED blamed “Antifa” for breaking windows and
entering off-limit areas of the Capitol, and he blamed the police for using tear gas in a manner to
force the crowd into the off-limit areas.

       SPEED also blamed Antifa for knocking down fencing around the Capitol. He described
walking over fencing and worrying about tripping, but not knowing that he was trespassing at the
time.

        SPEED claimed that he and the others initially did not intend to enter the Capitol. He
said that his plan was to be outside the Capitol and listen to speeches “for the 12 hours it would
take to do the 2-hour rebuttal for each of the 6 contested states.” However, SPEED explained,
“what the FBI did in advance is they arrested or threatened all the people they knew were going
to be the speakers so that there would be no leadership. They wanted to make sure there was no
one there…they wanted to maximize the possibility of violence.”

       SPEED claimed that “they spent a good hour hitting us with tear gas, hitting us with
rubber bullets and all kinds of things.” He said, “we still weren’t getting violent, because that’s
not why we were there.”

        SPEED further told UCE-1 that “there was this staircase leading up to the Senate side,
where like we knew it was ‘off limits’ because that was, also the staircase was covered by the
structure they’d set up the inauguration…and so, we were like we don’t need to go up there.
We’re not here to go in the building. We’re just here to make a statement ‘we are here and we


1
        Proud Boys are a self-described “Western Chauvinist” fraternal organization, some of
whose members have committed violence against perceived adversaries at First Amendment-
protected events in the United States. The Proud Boys are a national organization with many,
largely autonomous U.S. chapters and some activity in other Western countries. The group has
an initiation process for new members, who often wear yellow and black polo shirts or other
apparel adorned with the Proud Boys logo to events.
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are paying attention’…but, the ANTIFA kept sending people up the staircase and trying to get
people to come and we’re all like ‘no, we’re not going to follow you’…”

        SPEED decided to go up the staircase because he was “tired of getting tear gassed.”
Once up the staircase, SPEED claimed he intended to stay outside the Capitol Building at “this
huge portico porch thing which can hold a couple thousand people.” However, SPEED said, he
got tear gassed again. He also heard that Vice President Mike Pence had “validated” certain
ballots they considered “invalid.”

         SPEED described Pence’s act as a betrayal. SPEED stated that, at that point, he “was
like, ‘I’m going in there. Like I have no respect for people in this building. They have no
respect for me. I have no respect for them.’” SPEED stated, “[S]o we all went in and we took
control. Like, when you have that many thousands of people, like there’s nothing the cops can
do…it’s impressive.”

        Asked how far he went in the building, SPEED said, “I went in a little ways. Not to
anything important.” He explained, “the reason we left, like we controlled the entire building.
The Congress and Senate had evacuated through the tunnels so, nobody was there except us.”
SPEED further stated that they were told that “Nancy Pelosi ha[d] agreed to a 10 day delay of the
vote and in the meantime there [would] be an investigation into the improprieties of the
election.” SPEED stated that, at that point, they agreed to leave because “[a]ll we wanted was
for somebody to admit that this was not an honest election and look into it.” SPEED lamented
that the promise of a vote delay and investigation turned out to be a lie to get them out of the
building.

         SPEED explained that he had hoped that more and more people would have shown up,
and “It should have gotten to the point where Nancy Pelosi should have resigned out of fear for
her life. That’s what should have happened.” He also observed that “there are too many
Americans that have this idea that we have to be peaceful all costs.”

       SPEED also described seeing a “a guy dressed up, as, like—like a sort of a
Revolutionary-era . . . he looked like he could have just stepped off, you know, um, some ship,
that was . . . greeting Washington or something.”

                       Video Footage of SPEED Inside the U.S. Capitol

        On January 23, 2022, FBI conducted surveillance of SPEED. It followed SPEED from
his residence and took the following photographs of SPEED:
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       Figure 2                                     Figure 3


        FBI reviewed footage from a video posted on the website DLive by Anthime Joseph
Gionet, also known as “Baked Alaska” on social media platforms.2 In this video, an individual
resembling SPEED appears in the area near the Senate Wing Doors. Based on U.S. Capitol
Police closed-circuit video (CCV) that corresponds to this footage, the image below (taken from
the Baked Alaska footage) is from approximately 3:32 p.m.




2
 Gionet has been charged with participating in the breach of the U.S. Capitol. See Information,
United States v. Gionet, 22-cr-132 (EGS), ECF No. 57 (D.D.C. Apr. 19, 2022).
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                                             Figure 4

       UCE-1 viewed the footage and confirmed with high confidence that the appearance of the
individual circled in red above is consistent with SPEED’s appearance, based on the following:

           a. Upper body build, especially a broad chest and shoulders.
           b. Posture. SPEED walks or stands with his shoulders back and chest out, like the
              person in the pictures.
           c. Thickness of neck.
           d. The style of shirt and boots worn in the video (is similar to the style of clothing
              that UCE-1 has observed SPEED wearing)
           e. The height of the individual depicted compared to others nearby resembles
              SPEED’s -- approximately 6'1".
           f. Beard line.
              SPEED told UCE-1 that he wore a mask to cover his face; the individual in the
              video appears to wear a mask during much of his time inside the Capitol.

        In the video from which this image is derived, an individual dressed in an historical
soldier costume is visible. As described above, SPEED recalled seeing an individual dressed like
a “revolutionary era” soldier inside the Capitol.
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                                               Figure 5

       In the image below (from U.S. Capitol Police CCV), an individual who appears to
resemble the individual circled in red above (believed to be SPEED) is in the same area of the
Capitol. The timestamp on the screenshot below corresponds to UTC time, which is five hours
ahead of EST; thus, the image below is from 3:31:43 p.m. EST.




                                               Figure 6
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SPEED’s location near the Senate Wing Doors at 3:31 p.m. is consistent with the location of his
mobile device reported by Google.

       FBI located SPEED in U.S. Capitol Police CCV and was able to observe some of his
movementsthroughout the Capitol. For instance, at approximately 2:51:52 p.m., SPEED entered
the Capitol through the Senate Wing Doors:




                                               Figure 7

        This is consistent with the Google location data for SPEED’s mobile device, which
indicates that SPEED’s device was within the Capitol Building by 3:07 p.m. SPEED is also visible
on Capitol Police CCV footage in and near the Crypt, as in the below screenshot from 3:02:14
p.m.
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                                         Figure 8

       After spending just over 40 minutes inside the Capitol, SPEED exited through a window
near the Senate Wing Doors at approximately 3:34:30 p.m., approximately 25 seconds after the
below screenshot from U.S. Capitol Police CCV.




                                         Figure 9
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        In response to legal process for purchases associated with SPEED and his email address
speedness@gmail.com, Amazon produced data indicating that he purchased a black Under
Armour Sports face mask on December 3, 2020, resembling the mask he can be seen wearing
inside the Capitol. Amazon data also indicates that SPEED purchased a black Samurai Tactical
Wakizashi Tactical backpack on Amazon.com on November 24, 2020. Both items resemble the
mask and backpack SPEED can be see wearing in U.S. Capitol Police CCV footage.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
SPEED violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person
protected by the Secret Service, including the Vice President, is or will be temporarily visiting;
or any building or grounds so restricted in conjunction with an event designated as a special
event of national significance.

        Your affiant submits there is also probable cause to believe that SPEED violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                              ____                      ____________
                                              SPECIAL AGENT CHRISTON TURNER
                                              FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of June 2022.


                                              ___________________________________
                                              THE HONORABLE ZIA M. FARUQUI
                                              U.S. MAGISTRATE JUDGE
